Case 2:02-cv-00322-NM-JWJ Document 60 Filed 01/13/04 Page 1iof1 Page ID #:54

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JUDGMENT

UNITED STATES COURT OF APPEALS a
FOR THE NINTH CIRCUIT =

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NO. 02-56272
CT/AGH: CV-02-00322-NMM

 

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MATTEL, INC., a Delaware corporation CLERK, U.S. DISTRICT COURT

 

Plaintiff - Appellant

JAN 2.0 2004

Vv.

 

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
Ce

GREINER AND HAUSSER GMBH, a German business entity; R. DEPUTY

HAUSSER, an individual; M.-L. HAUSSER, an individual; DOES 1 i?
THRU 10, inclusive

Defendants - Appellees

APPEAL FROM the United States District Court for the

Central District of California, Los Angeles.

THIS CAUSE came on to be heard on the Transcript of the
Record from the United States District Court for the Central

District of California, Los Angeles and was duly submitted.

ON CONSIDERATION WHEREOF, It is now here ordered and
adjudged by this Court, that the judgment of the said District
Court in this cause be, and hereby is AFFIRMED IN PART; REVERSED
IN PART; VACATED IN PART; REMANDED. Each party is to bear its

own costs on appeal.

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Filed and entered December 22, 2003 Clerk.ofcourt S| «
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